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  VIA ECF

  Special Master
  Hon. Thomas Vanaskie
  Stevens & Lee
  1500 Market Street, East Tower
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  Philadelphia, PA 19103
  TIV@stevenslee.com

  RE: In re Valsartan, Losartan, and Irbesartan Products Liability Litigation, No. 1:19-md-
  2875-RBK-KMW (D.N.J.)

  Dear Special Master Vanaskie:

  I write on behalf of Defendants Zhejiang Huahai Pharmaceutical Co, Ltd.; Huahai U.S., Inc.;
  Prinston Pharmaceutical Inc.; and Solco Healthcare US, LLC (collectively, “ZHP”) to follow up
  on the September 8, 2022 hearing regarding plaintiffs’ Motion for Rule 37 Sanctions.

  At that hearing, you indicated that ZHP had not submitted an affidavit or declaration explaining
  the nature of Chinese government procedures with respect to the evaluation of requests for
  permits to travel, like the one submitted by Mr. Chen Baohua. (See, e.g., Hr’g Tr. 41:3-42:11,
  Sept. 8, 2022.) In response, we retained Jacques deLisle, the Stephen A. Cozen Professor of
  Law, Professor of Political Science, Director of the Center for the Study of Contemporary China,
  and Co-Director of the Center for Asian Law at the University of Pennsylvania (full CV attached
  as Ex. 1), to prepare a declaration explaining the context surrounding the denial of Mr. Baohua’s
  request to travel to Macau for a deposition in this matter. Professor deLisle’s declaration
  (attached as Ex. 2) confirms that Mr. Baohua applied in good faith for permission to travel and
  thus demonstrates why the sanctions sought by plaintiffs would not be appropriate.
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 Special Master the Honorable Thomas Vanaskie
 October 13, 2022

 We hope you will consider the attached submission, and please let us know if you would like
 copies of any of the materials cited in the declaration.

                                            Sincerely,




                                            Richard T. Bernardo

 cc:    All counsel of record (via ECF)




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